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                                                           United States Courts
                                                         Southern District of Texas
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                                                               June 25, 2020
                                                       David J. Bradley, Clerk of Court
                                               3:20-mj-91
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